Case 1:02-cr-10011-.]DT Document 120 Filed 08/25/05 Page 1 of 2 Page|D 111

 

 

UNITED STATES DISTRICT COURT
FoR THE
WEsTERN DISTRICT 0F TENNESSEE

ORDER OF PRODUCTION
NO= l'.OZ-lOOll-Ol-T

USA "' Gary Ross

 

AD Pro sequenduln
F`OR= Re-Sentencing Hrg

TO: USM, Western District of TN
Warden, FCI Fort Dix, 5756 I-Iartford & Pointville
Road, Fox Dix, NJ 08640

YOU ARE HEREBY COMMANDED to have the person of Gary Dewayne Ross, Inmate
# 18080-076, by you restrained of his/her liberty, as it is said, by Whatsoever names detained,
together with the day and cause of his being taken and detained, before the Honorable J ames D.
Todd, U. S. District Court Judge, for the Western District of Tennessee, at the room of said Court,
in the City of Jackson, Tennessee, at 8:30 a.m. on the 18th day of October, 2005, then and there
to do, submit to, and receive Whatsoever the said Judge shall then and there determine in that behalf;
and have you then and there this writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct.

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JAME _ToDD
UNr sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 120 in
case 1:02-CR-100]1 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jacl<son7 TN 3830]--276

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

